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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                   ALEXANDRIA DIVISION

 MARKKOWALSKI,

        Plaintiff,

        V.                                              No. l:16-cv-01568-CMH-IDD

 NAVIENT SOLUTIONS, INC.,

        Defendant.

                           NOTICE OF VOLUNTARY DISMISSAL

        Plaintiff, MARK KOWALSKI, ("Plaintiff"), through his attorney, Ferris Winder, PLLC,
 pursuant to Federal Rule ofCivil Procedure 41(a)(l)(A)(i), voluntarily dismisses this case, without
 prejudice, against Defendant, NAVIENT SOLUTUIONS, INC.
                                              RESPECTFULLY SUBMITTED,



 January 17,2017                              By: /s/Richard W. Ferris
                                                      Richard W. Ferris, Esq.
                                                      Virginiabar number 31812
                                                      Attorneyfor Mark Kowalski
                                                      Ferris Winder, PLLC

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